            Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                    Holding a Criminal Term

                            Grand Jury Sworn in on February 15, 2022

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 22-cr-

                       v.                              GRAND JURY ORIGINAL

 PETER K. NAVARRO,                                     VIOLATIONS:

                       Defendant.                      Count 1: 2 U.S.C. § 192
                                                       (Contempt of Congress—Papers)

                                                       Count 2: 2 U.S.C. § 192
                                                       (Contempt of Congress—Testimony)



                                         INDICTMENT

       The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and at the approximate times stated below:

                                        BACKGROUND

                                     The Select Committee

       1.       On June 30, 2021, the U.S. House of Representatives (the “House”) adopted House

Resolution 503, which established the Select Committee to Investigate the January 6th Attack on

the United States Capitol (the “Select Committee”).

       2.       According to House Resolution 503, the Select Committee’s purpose was, in part:

       To investigate and report upon the facts, circumstances, and causes relating to the
       January 6, 2021, domestic terrorist attack upon the United States Capitol Complex
       (hereafter referred to as the “domestic terrorist attack on the Capitol”) and relating
       to the interference with the peaceful transfer of power, including facts and causes
       relating to the preparedness and response of the United States Capitol Police and
       other Federal, State, and local law enforcement agencies in the National Capital
       Region and other instrumentalities of government, as well as the inuencing factors
            Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 2 of 7




       that fomented such an attack on American representative democracy while engaged
       in a constitutional process.

       3.       One ofthe Select Committee’s functions, as set forth in House Resolution 503, was

to:

       investigate the facts, circumstances, and causes relating to the domestic terrorist
       attack on the Capitol, including facts and circumstances relating to . . . (B)
       inuencing factors that contributed to the domestic terrorist attack on the Capitol
       and how technology, including online platforms, nancing,        and malign foreign
       inuence     operations and campaigns may have factored into the motivation,
       organization, and execution of the domestic terrorist attack on the Capitol; and (C)
       other entities of the public and private sector as determined relevant by the Select
       Committee for such investigation.

       4.       House Resolution 503 provided that the Select Committee would issue a final report

to the House, which would include recommendations for corrective measures, including possible

“changes in law, policy, procedures, rules, or regulations that could be taken” to prevent future

similar acts and “to strengthen the security and resilience of the United States and American

democratic institutions against violence, domestic terrorism, and domestic violent extremism.”

       5.       To accomplish the Select Committee’s purposes and fulll      its functions, House

Resolution 503, with reference to the rules ofthe House, authorized the Select Committee, through

the Chair   of the Select Committee, “to require, by subpoena   or otherwise, the attendance and

testimony of such witnesses and the production of such books, records, correspondence,

memoranda, papers, and documents as it considers necessary.”

                      The Select Committee Subpoenas Peter K. Navarro

       6.       PETER K. NAVARRO was a private citizen.      From January 20, 2017, until January

20, 2021 , during the administration of former President Donald J. Trump,   NAVARRO worked       in

the Executive Branch as an advisor on various trade and manufacturing policies.
             Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 3 of 7




       7.        On February 9, 2022, the Select Committee served     NAVARRO with       a subpoena

for documents and testimony relating to its inquiry.

        8.       The cover letter to the subpoena stated:

       Based on publicly available information and information produced to the Select
       Committee, we believe that you have documents and information that are relevant
       to the Select Committee’s investigation. For example, you, then a White House
       trade advisor, reportedly worked with Steve Bannon and others to develop and
       implement a plan to delay Congress’s certication of, and ultimately change the
       outcome of, the November 2020 presidential election. In your book, you reportedly
       described this plan as the “Green Bay Sweep” and stated that it was designed as the
       “last, best chance to snatch a stolen election from the Democrats’ jaws of deceit.”
       In an interview, you reportedly added that former President Trump was “on board
       with the strategy”, as were “more than 100” members of Congress . . . . You also
       released on your website a three-page report . . . repeating many claims ofpurported
       fraud in the election that have been discredited in public reporting, by state ofcials,
       and courts. And, because you have already discussed these and other relevant
       issues in your recently published book, in interviews with reporters, and, among
       other places, on a podcast, we look forward to discussing them with you, too.
       Accordingly, the Select Committee seeks documents and a deposition regarding
       these and other matters that are within the scope of the Select Committee’s inquiry.

       9.        As described further below, the subpoena required NAVARRO to appear and

produce documentsto the Select Committee on February 23, 2022, and to appear for a deposition

before the Select Committee on March 2, 2022.

                            The Documents Commanded by the Subpoena

        10.      The Select Committee’s subpoena commanded NAVARRO to appear on February

23, 2022, at 10:00 a.m., at an office in the U.S. Capitol Complex and “produce the things identied

on the attached schedule touching matters     of inquiry committed to [the Select Committee]” and

“not to depart without leave of [the Select Committee].”

        11.      The schedule attached to the subpoena identied   ten categories   of “documents and

communications” that     NAVARRO      was required to produce relevant to the Select Committee’s

authorized investigation of the January 6th attack on the U.S. Capitol.
          Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 4 of 7




        12.    The subpoena also included instructions for compliance with the document

demand, titled,   “DOCUMENT PRODUCTION DEFINITIONS AND INSTRUCTIONS.” The

instructions directed that,   if NAVARRO could not comply fully with the      subpoena by the return

date, he should comply “to the extent possible by that date” and provide an explanation and date

certain for full compliance; that,   ifNAVARRO withheld any documents and communications, he

should provide a detailed log of which records were withheld and why; and that, upon completion

ofNAVARRO’S response to the subpoena, he should provide a written certication           that a diligent

search had been completed and all responsive documents had been produced.

                              The Deposition Commanded by the Subpoena

        l3.       The subpoena also commanded that NAVARRO appear on March 2, 2022, at 10:00

a.m., at the United States Capitol Building or by videoconference and “testify at a deposition

touching matters of inquiry committed to [the Select Committee]” and “not to depart without leave

of [the Select Committee].”

        l4.       The subpoena included a copy of the House’s “Regulations for Use of Deposition

Authority,” which provided, in part, that during a deposition:

       The witness may refuse to answer a question only to preserve a privilege. When
       the witness has refused to answer a question to preserve a privilege, members or
       staffmay (i) proceed with the deposition, or (ii) either at that time or at a subsequent
       time, seek a ruling from the Chair either by telephone or otherwise. If the Chair
       overrules any such objection and thereby orders a witness to answer any question
       to which an objection was lodged, the witness shall be ordered to answer. . . . A
        deponent who refuses to answer a question after being directed to answer by the
        chair may be subject to sanction . . . .


                       NAVARRO’S Refusal to Comply with the Subpoena

        15.       On February 23, 2022, at 10:00 a.m.,   NAVARRO did not appear before the Select

Committee and produce documents and communications or a log of withheld records as required

by the subpoena. He also did not request an extension of time or certify that he had conducted a
             Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 5 of 7




diligent search for responsive records. In fact, NAVARRO had not communicated with the Select

Committee in any way after receiving the subpoena on February 9, 2022.

            16.    On February 24, 2022, the Select Committee wrote to         NAVARRO by email,

reminding him that, “[t]he subpoena required you to produce documents to the Select Committee

by yesterday, February 23, 2022” and conrming          that “[w]e have not received any documents or

an indication that you have no documents that are responsive to the subpoena’s document

schedule.” The email also reminded NAVARRO that “the date for your deposition is Wednesday,

March 2, 2022, at 10:00 AM, and we will convene in a room in the House ofce            buildings.” The

Select Committee asked NAVARRO to contact the Select Committee at his earliest convenience

to discuss the details   of his deposition, or alternatively, to let the Select Committee know if he did

not plan to appear on March 2.

            17.    NAVARRO wrote to the Select Committee by email on February 27, 2022.           In the

email, NAVARRO wrote, in part, “President Trump has invoked Executive Privilege in this matter

. . . .   Accordingly, my hands are tied.”

            18.    The Select Committee responded by email the same day, rejecting       NAVARRO’s

stated reason for noncompliance with the subpoena and directing         NAVARRO       to appear for his

deposition as required. The Select Committee stated, in part, “[t]here are topics, including those

discussed in the [subpoena’s cover letter], that the Select Committee believes it can discuss with

you without raising any executive privilege concerns at all. In any event, you must appear to assert

any executive privilege objections on a question-by-question basis during the deposition.”

            19.    The next day, on February 28, 2022,    NAVARRO      emailed the Select Committee,

stating that the “privilege is not mine to waive” and that it would be “incumbent on the Committee
          Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 6 of 7




to directly negotiate with President Trump and his attorneys regarding any and all things related

to this matter.” In his email,   NAVARRO also included a copy of his February 27, 2022,       email.

        20.     In an email response, on March      l,   2022, the Select Committee again rejected

NAVARRO’ s stated reason for noncompliance with the subpoena and informed NAVARRO again

that he could assert any objections he may have on the record, on a question-by-question basis.

The Select Committee also conrmed       that it planned to proceed with the March 2, 2022, deposition

and provided   NAVARRO with the location to appear.

        21.     On March 2, 2022, at 10:00 a.m.,     NAVARRO       did not appear before the Select

Committee to testify.

                                            COUNT ONE
                        (Contempt of Congress (Papers)—2 U.S.C. § 192)

        22.     The allegations in paragraphs 1 through 21 are realleged and incorporated as iffully

set forth herein.

        23.     On February 23, 2022, in the District of Columbia and elsewhere, the defendant,

                                       PETER K. NAVARRO,
having been summoned as a witness by the authority of the U.S. House of Representatives to

produce papers upon a matter under inquiry before a committee of the House, did willfully make

default—that is, in a matter under inquiry before the House Select Committee to Investigate the

January 6th Attack on the United States Capitol,    NAVARRO       refused to produce documents and

communications, provide a log of any withheld records, certify     a   diligent search for records, and

comply in any way with a subpoena dated February 9, 2022, issued by the Select Committee and

commanding     NAVARRO       to produce, at 10:00 a.m. on February 23, 2022, documents and

communications as delineated therein.

                     (In violation of Title 2, United States Code, Section 192)
          Case 1:22-cr-00200-APM Document 1 Filed 06/02/22 Page 7 of 7




        24.
                                         w
                     (Contempt of Congress (Testimony)—2 U.S.C. § 192)

                The allegations in paragraphs   1   through 21 are realleged and incorporated as   iffully

set forth herein.

        25.     On March 2, 2022, in the District of Columbia and elsewhere, the defendant,

                                     PETER K. NAVARRO,
having been summoned as a witness by the authority of the U.S. House of Representatives to give

testimony upon a matter under inquiry before a committee of the House, did willfully make

default—that is, in a matter under inquiry before the House Select Committee to Investigate the

January 6th Attack on the United States Capitol,      NAVARRO refused to appear to give testimony

as required by a subpoena dated February 9, 2022, issued by the Select Committee and

commanding NAVARRO to appear for a deposition at 10:00 a.m. on March 2, 2022.

                     (In violation of Title 2, United States Code, Section 192)




                                                          A TRUE BILL


                                                          FOREPERSON



MATTHEW M. GRAVES
ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA
